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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                                            Unsealing Order

      -    V. -                                                                             20 Cr. 412

BRIAN KOLP AGE, et al.,

                           Defendants.


          Upon the application of the United States, by the Acting United States Attorney for the

Southern District of New York, Audrey Strauss, by Assistant United States Attorney Alison Moe;

          It is found that the Indictment in the above-captioned case is currently sealed and the United

States Attorney's Office has applied to have that Indictment unsealed, and it is therefore:

          ORDERED that the Indictment in the above-captioned action be unsealed and remain

unsealed pending further order of the Court.


Dated:       New York, New York
             August 20, 2020


                                                         HONORABLE STEWART D. AARON
                                                         UNITED STATES MAGISTRATE JUDGE
                                                         SOUTHERN DISTRICT OF NEW YORK
